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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:

 CHANEL GUILLOU,

                 Plaintiff,

 vs.

 THE TAX EXPERTS & BOOKKEEPING LLC,
 a Florida corporation, and SANJO
 ALLEN, individually,

             Defendants.
 ________________________________________/

                                           COMPLAINT

         Plaintiff, CHANEL GUILLOU, by and through his undersigned counsel, sues the

 Defendants, THE TAX EXPERTS & BOOKKEEPING LLC, (hereinafter, “Company”), and SANJO

 ALLEN, individually, (hereinafter, collectively referred to as “Defendants”) and alleges as follows:

         1.      Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.

         2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).

         3.      The unlawful employment practices alleged herein occurred and/or was committed

 within this judicial district.

         4.      At all times material hereto, Plaintiff is/was a resident of this judicial district,

 employee of the Defendants, sui juris and otherwise within the jurisdiction of this Court.
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        5.      At all times material hereto, Defendant, Company, was the employer or former

 employer of the Plaintiff and are conducting business in this judicial district and is otherwise an

 ‘employer’ under the FLSA.

        6.      That at all times material hereto, Defendant, SANJO ALLEN, individually, acted

 directly in the interests of her employer, the Defendant, Company, in relation to the Plaintiff, and

 this individual Defendant exercised the requisite legal control and otherwise administered the illegal

 acts as described herein on behalf of the Defendant, Company, and is otherwise an ‘employer’ under

 the FLSA.

        7.      At all times material hereto, Defendants were and continue to be an ‘enterprise

 engaged in commerce’ within the meaning of the FLSA.

        8.      That at all times material hereto, Plaintiff were ‘engaged in commerce’ within the

 meaning of the FLSA. Specifically, Defendant, Company, has been at all times material engaged in

 interstate commerce, and Defendant’s annual gross revenues derived from this interstate commerce,

 upon information and belief, are in excess of $500,000.00 for the relevant time period. See Dobbins

 v. Scriptfleet, Inc., 2012 WL 601145, at *2 (M.D.Fla. 2012) (allegation, on information and belief,

 that defendants' annual gross sales exceeded $500,000 was sufficient to withstand dismissal).

        9.      The Plaintiff was a non-exempt employee working solely for the Defendants.

        10.     During her employment, the Defendants intentionally required the Plaintiff, a non-

 exempt employee under the FLSA, to work in excess of forty (40) hours per work week, but

 willfully refused to properly compensate Plaintiff for such work in violation of the FLSA.

        11.     Specifically, Plaintiff was working the front desk from October 15, 2018 to May 26,

 2019 (with a month off in December).



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          12.    Over these seven months, Plaintiff was working approximately 80 hours per week

 over seven days a week, yet was incredibly only paid $200.00 for this work on one occasion.

          13.    Defendants had promised her repeatedly that she was going to be paid once tax

 season picks up.

          14.    The excuses continued after that when Defendants claimed the government shut down

 was why she was not being paid.

          15.    Eventually, Plaintiff demanded her money to which Defendants said, “You did not

 have any, and you should not come in anymore;” firing her.

          16.    Using Plaintiff’s supposed $10.00 rate, and $15.00 overtime rate, Plaintiff is owed

 approximately $1,000 per week.

          17.    Over her tenure, that would total $26,000.

                                  COUNT I
                  FLSA MINIMUM WAGES AND OVERTIME - COMPANY

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 17

 above.

          18.    Plaintiff is entitled to minimum wages and time and one half for each hour worked in

 excess of forty (40) hours per work week pursuant to the FLSA.

          19.    By reason of the intentional, willful and unlawful acts of the Defendant, Company in

 violation of the FLSA, Plaintiff has suffered damages.

          WHEREFORE, Plaintiff demands judgment against the Defendant, Company for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.




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                                 COUNT II
               FLSA MINIMUM WAGES AND OVERTIME –SANJO ALLEN

         Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 17 of

 this Complaint.

         20.    Plaintiff is entitled to minimum wages and time and one half for each hour worked in

 excess of forty (40) hours per work week pursuant to the FLSA.

         21.    By reason of the intentional, willful and unlawful acts of the Defendant, SANJO

 ALLEN in violation of the FLSA, Plaintiff has suffered damages.

         WHEREFORE, Plaintiff demands judgment against the Defendant, SANJO ALLEN for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                        COUNT III
                               FLSA--RETALIATION-COMPANY

         Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 17 of

 this Complaint.

         22.    That Plaintiff complained to the Defendant, Company, concerning violations of the

 FLSA.

         23.    That, as a result of the Plaintiff’s complaints, the Defendant, Company, intentionally,

 willfully and unlawfully retaliated against Plaintiff, in violation of the FLSA, by terminating her

 employment.

         24.    That the Defendant, Company’s decisions to adversely affect the Plaintiff was both

 connected to, and in response to the Plaintiff’s complaints.

         25.    The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees, costs

 and expenses related to this litigation.

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        WHEREFORE, Plaintiff demands judgment against the Defendant, Company for all

 damages and relief under the FLSA, attorneys’ fees, costs and expenses, in addition to all other relief

 this Court deems just and proper.

                                         COUNT IV
                                 FLSA--RETALIATION-ALLEN

        Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 17 of

 this Complaint.

        26.     That Plaintiff complained to the Defendant, SANJO ALLEN, concerning violations

 of the FLSA.

        27.     That, as a result of the Plaintiff’s complaints, the Defendant, SANJO ALLEN,

 intentionally, willfully and unlawfully retaliated against Plaintiff, in violation of the FLSA, by

 terminating her employment.

        28.     That the Defendant, SANJO ALLEN’s decisions to adversely affect the Plaintiff was

 both connected to, and in response to the Plaintiff’s complaints.

        29.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees, costs

 and expenses related to this litigation.

        WHEREFORE, Plaintiff demands judgment against the Defendant, SANJO ALLEN, for all

 damages and relief under the FLSA, attorneys’ fees, costs and expenses, in addition to all other relief

 this Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury on all counts.




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       Dated: January 31, 2020.            Respectfully submitted,

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